       8:17-cv-00358-MDN Doc # 4 Filed: 12/01/17 Page 1 of 4 - Page ID # 8



                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

FRANK J. MCGREE,                          )              CASE NO.: 8:17-cv-358
                                          )
                    Plaintiff,            )
                                          )
             v.                           )                    ANSWER
                                          )
GOODWILL INDUSTRIES, INC.; THE            )
COMMITTEE OF THE EXECUTIVE                )
457(f)  RETIREMENT  PLAN    OF            )
GOODWILL INDUSTRIES, INC.; and            )
PAULI BISHOP,                             )
                                          )
                    Defendants.           )


       COMES NOW the Defendants, Goodwill Industries, Inc.; The Committee of the
Executive 457(F) Retirement Plan of Goodwill Industries, Inc.; and Pauli Bishop, and for
their Answer to the Plaintiff's Complaint and Demand for Jury Trial, allege and state as
follows:
       1.    The Defendants admit the allegations contained in Paragraph 1 of the
Complaint.
       2.    The Defendants admit the allegations contained in Paragraph 2 of the
Complaint.
       3.    The Defendants admit the allegations contained in Paragraph 3 of the
Complaint.
       4.    The Defendants admit the allegations contained in Paragraph 4 of the
Complaint but denies that Ms. Bishop is the current President and CEO of Goodwill.
Ms. Bishop served as the interim President and CEO until on or about October 16, 2017.
Ms. Bishop is no longer employed by Goodwill Industries, Inc. All other allegations
contained in Paragraph 4 are admitted.
       5.    The Defendants admit the allegations contained in Paragraph 5 of the
Complaint insofar as they allege that this Court has jurisdiction over the Plaintiff's
benefits claim and state law breach of contract claim.
       6.    The Defendants admit the allegations contained in Paragraph 6 of the
Complaint.
       8:17-cv-00358-MDN Doc # 4 Filed: 12/01/17 Page 2 of 4 - Page ID # 9



       7.     The Defendants admit the allegations contained in Paragraph 7 of the
Complaint, but deny all allegations with respect to whether his service was "dedicated."
       8.     The Defendants are without knowledge as to the veracity of the allegations
contained in Paragraph 8 of the Complaint as to the number of employees employed by
Goodwill, its gross revenues and its participants on or about December 1, 1986, and
therefore, deny same. The Defendants admit the allegations contained in Paragraph 8
of the Complaint, insofar as they allege that in 2015, Goodwill employed approximately
600 employees and had gross revenue of approximately $30 million.               All other
allegations are denied.
       9.     The Defendants are without knowledge as to the veracity of the allegations
contained in Paragraph 9 of the Complaint. The Defendants admit, that it entered into a
written Employment Agreement entitled "President and CEO Employment Agreement."
All other allegations are denied.
       10.    The Defendants admit the allegations contained in Paragraph 10 of the
Complaint, insofar as they allege that McGree's compensation was set annually by the
Board of Trustees ("Board") and that one component of said compensation was
McGree's performance. The Defendants also admit that the Board approved McGree's
compensation from 2008 through 2016. All other allegations are denied.
       11.    The Defendants admit the allegations contained in Paragraph 11 of the
Complaint, insofar as they allege that the Employment Agreement provides that, in the
event that McGree was terminated without "cause," that he would be entitled to
severance benefits in the amount of two (2) years of his then base salary. All other
allegations are denied.
       12.    The Defendants admit the allegations contained in Paragraph 12 of the
Complaint to the extent that the Plaintiff had been a participant in the 457(f) Plan since
at least 2005. Defendants also admit that the Plaintiff's 457(f) benefits would vest if he
was terminated without "cause." All other allegations contained in Paragraph 12 are
denied.
       13.    The Defendants deny the allegations contained in Paragraph 13 of the
Complaint.
       14.    The Defendants deny the allegations contained in Paragraph 14 of the
Complaint.



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      8:17-cv-00358-MDN Doc # 4 Filed: 12/01/17 Page 3 of 4 - Page ID # 10



       15.     The Defendants deny the allegations contained in Paragraph 15 of the
Complaint to the extent that they allege that the Plaintiff's employment was terminated
without "cause." Defendants admit, however, that the Plaintiff made a timely claim for
benefits due him under the 457(f) Plan, which were denied as was his appeal of the
denial of benefits. All other allegations contained in Paragraph 15 of the Complaint are
denied.
       16.     The Defendants restate and re-allege its Answers to Paragraphs 1 through
15 of the Answer, as though fully set forth herein.
       17.     The Defendants deny the allegations contained in Paragraph 17 of the
Complaint.
       18.     The Defendants deny the allegations contained in Paragraph 18 of the
Complaint.
       19.     The Defendants restate and re-allege its Answers to Paragraphs 1 through
18 of the Answer, as though full set forth herein.
       20.     The Defendants deny the allegations contained in Paragraph 20 of the
Complaint.
       21.     The Defendants deny the allegations contained in Paragraph 21 of the
Complaint.
       22.     The Defendants deny the allegations contained in Paragraph 22 of the
Complaint.


                                AFFIRMATIVE DEFENSES

       1.      The Plaintiff's original voluntary resignation was converted to a termination
for "cause," which does not entitle the Plaintiff to §457(f) benefits and/or severance
benefits under the Employment Agreement.
       2.      The Defendants plead laches and/or unclean hands.
       3.      Plaintiff's ERISA claim is preempted by the terms of the 457(f) Plan.
       4.      Plaintiff's state law contract claim is preempted by ERISA, 29 U.S.C.
§1144(c)(1).
       5.      The decision to deny Plaintiff benefits was neither arbitrary nor capricious.
       6.      The Plaintiff has failed to mitigate his alleged damages.
       7.      Paying the Plaintiff severance pay and/or 457(f) benefits violates the
public policy of the State of Nebraska.
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        8:17-cv-00358-MDN Doc # 4 Filed: 12/01/17 Page 4 of 4 - Page ID # 11



         WHEREFORE, the Defendants respectfully request that the Court find for the
Defendants on all counts and dismiss the action in its entirety and grant them such other
relief as is just and appropriate.


         DATED this 1st day of December, 2017.

                                                   GOODWILL INDUSTRIES, INC, ET. AL.
                                                   Defendants.


                                            BY:    /s/ Patrick J. Barrett
                                                   Patrick J. Barrett, #17246
                                                   Sarah L. (Sally) McGill, #24790
                                                   Brandon J. Crainer, #24891
                                                   Emily R. Langdon, #23945
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                                                   ATTORNEYS FOR DEFENDANTS


                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 1st day of December, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which will send notification of
such filing to the following:
Thomas Culhane
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                                                   /s/ Patrick J. Barrett

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